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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

    In re:
                                                                Chapter 7
    PROJECT VERTE INC.,
                                                                Case No. 23-10101-LSS

                             Debtor.                            Hearing: August 24, 2023 at 9:45 a.m. ET
                                                                Obj. Deadline: August 3, 2023 at 4:00 p.m. ET



                   CHAPTER 7 TRUSTEE’S MOTION FOR AN
       ORDER APPROVING SETTLEMENT AGREEMENT AND RELEASE BY AND
      AMONG THE CHAPTER 7 TRUSTEE, DON A. BESKRONE AS RECEIVER, AND
                  ASHBY & GEDDES AS RECEIVER COUNSEL

             Alfred T. Giuliano, the Chapter 7 Trustee for the estate of Project Verte Inc. (the “Debtor”),

through his counsel, Fox Rothschild LLP, respectfully requests the entry of an order approving the

Settlement Agreement and Release (the “Agreement”)1 by and among the Trustee, Don A.

Beskrone, Esq. solely in his capacity as the state court-appointed receiver for Project Verte Inc.

(the “Receiver”), and Ashby & Geddes, P.A. as counsel for the Receiver (“Ashby & Geddes”,

together with the Receiver, the “Receivership Creditors”, and collectively with the Trustee, the

“Parties”) pursuant to Fed. R. Bankr. P. 9019 (the “Motion”).2 In support of the Motion, the

Trustee respectfully represents as follows:

                                              JURISDICTION

             1.     This Court has jurisdiction over this Motion pursuant to 28 U.S.C. §§ 157 and 1334.

This matter is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A) and (O).

             2.     Venue of this proceeding and this Motion is proper in this district pursuant to 28

U.S.C. §§ 1408 and 1409.


1
  Capitalized terms not otherwise defined herein shall have the meanings ascribed to such terms in the
Agreement.
2
  A copy of the Agreement is attached hereto as Exhibit “A” and incorporated by reference herein.


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        3.     The predicate for the relief sought herein is Rule 9019 of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”).

                                        BACKGROUND

        A.     Factual Background

        4.     On January 26, 2023 (the “Petition Date”), the Debtor filed a voluntary petition for

relief under Chapter 7 of the Bankruptcy Code in the United States Bankruptcy Court for the

District of Delaware (the “Bankruptcy Court”).

        5.     On January 27, 2023, the Office of the United States Trustee appointed the Trustee

as Chapter 7 trustee, which appointment remains in effect.

        6.     Prior to the Petition Date, the Debtor operated as a full circle e-commerce platform

that used automated fulfillment centers, proprietary software, and blockchain technology to service

its customers. The Debtor had two lines of business: a fulfillment business (“Fulfillment

Business”) and a software services business (“Software Services Business”).

        7.     Prior to the Petition Date, on August 8, 2022, AC Group Holdings LLC (“AC

Group”), a stockholder and significant creditor of the Debtor, filed a motion (the “Receivership

Motion”) with the Delaware Court of Chancery, in and for New Castle County (the “Chancery

Court”), requesting appointment of the Receiver to sell assets relating to the Fulfillment Business

and conduct an orderly wind-up of the Debtor’s remaining assets and affairs.

        8.     In the Receivership Motion, it was indicated that if appointed, the Receiver would

engage the law firm of Ashby & Geddes as his legal counsel, and a retainer account funded by AC

Group in the amount of $75,000 would be established in connection with anticipated fees and costs

(the “Retainer”), with the Retainer to be held in the Ashby & Geddes client trust account.




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        9.      On August 25, 2022, the Chancery Court entered an order (the “Receivership

Order”) granting the Receivership Motion. A copy of the Receivership Order is attached hereto

as Exhibit “B”.

        10.     Immediately following entry of the Receivership Order, the Receivership Creditors

commenced work in connection with a potential going concern sale of the Debtor’s Fulfillment

Business and related assets, including negotiating and drafting an asset purchase agreement with

an identified and interested third-party purchaser. Ultimately, no court-approved sale of the

Fulfillment Business and related assets was achieved in the Chancery Court receivership

proceedings. But after significant efforts concluded with respect to that proposed sale, the

Receiver and his counsel turned their attention to efforts needed to market and sell the Debtor’s

Software Services Business and related assets.

        11.     On January 20, 2023, the Receivership Creditors obtained Chancery Court approval

to sell the Software Services Business and related assets to an affiliate formed by a group of the

Debtor’s senior secured lenders (which group included AC Group). Upon closing, that approved

sale netted sale proceeds of over $1.1 million. This bankruptcy case was filed shortly thereafter.3

        12.     After the Petition Date, the Receivership Creditors maintained and fulfilled

responsibilities, such as preparing for creditor meetings, preparing and filing the Debtor’s

respective schedules of assets and liabilities and statement of financial affairs, providing

information to the Trustee in response to his inquiries, transferring the net sale proceeds to the

Trustee, preparing and filing an accounting, preparing and filing status reports required by the

Chancery Court, and other logistical duties. Neither the Receiver nor Ashby & Geddes have




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 The Receiver also obtained Chancery Court authority to cause to be filed a bankruptcy petition for Project
Verte Inc.

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received any compensation or reimbursement to date, whether for prepetition or postpetition

services rendered or costs incurred.

        B.       Disputed Claims and Negotiation of the Agreement Between the Parties

        13.      For prepetition and postpetition services rendered and expenses incurred, the

Receiver has asserted and filed an administrative priority claim in the amount of at least

$208,367.52, pursuant to sections 543(c)(1) and (2), 503(b)(3)(E), and 503(b)(4) of the Bankruptcy

Code. A copy of the claims filed by the Receiver, including attachments, is attached hereto as

Exhibit “C”.

        14.      For prepetition and postpetition services rendered and expenses incurred, Ashby &

Geddes has asserted and filed an administrative priority claim in the amount of at least

$530,346.64, pursuant to sections 543(c)(1) and (2), 503(b)(3)(E), and 503(b)(4) of the Bankruptcy

Code. A copy of the claims filed by Ashby & Geddes, including attachments, is attached hereto

as Exhibit “D”.

        15.      The Trustee has reviewed the extent, validity and priority of the Receivership

Creditors’ respective claims against the Estate. After such review and extensive arms-length

negotiations, the Parties have agreed to resolve and compromise all remaining outstanding claims

and issues in accordance with the terms set forth in the Agreement, subject to Bankruptcy Court

approval.

        C.       Salient Provisions of the Agreement

        16.      A summary of the pertinent terms of the Agreement are as follows:4

              a. Allowed Claims of Receivership Creditors.




4
 To the extent there is any inconsistency between the summary of settlement terms herein and the terms
contained in the Agreement, the terms in the Agreement control.

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               i.   Receiver shall have allowed administrative claims in the total aggregate
                    amount of $169,240.71 against the Estate, broken down as follows
                    (collectively, the “Receiver Administrative Claim”):

                       allowed administrative claim, pursuant to sections 503(b)(3)(E) and
                        543(c)(2) of the Bankruptcy Code in the amount of $161,131.88,
                        representing compensation for the Receiver’s prepetition services
                        rendered from August 25, 2022, through the Petition Date.

                       allowed administrative claim, pursuant to sections 503(b)(3)(E) and
                        543(c)(2) of the Bankruptcy Code, in the amount of $1,203.32,
                        representing reimbursements for the Receiver’s prepetition expenses
                        incurred from August 25, 2022, through the Petition Date.

                       allowed administrative claim, pursuant to sections 503(b)(3)(E) and
                        543(c)(2) of the Bankruptcy Code, in the aggregate amount of
                        $6,905.51, representing compensation for the Receiver’s postpetition
                        services rendered.

              ii.   Ashby & Geddes shall have allowed administrative claims in the total
                    aggregate amount of $430,759.29 against the Estate, broken down as
                    follows (collectively, the “Ashby Administrative Claim”):

                       allowed administrative claim, pursuant to sections 503(b)(4) and
                        543(c)(1) of the Bankruptcy Code, in the amount of $358,836.90,
                        representing compensation for Ashby & Geddes’ prepetition services
                        rendered to the Receiver from August 25, 2022, through the Petition
                        Date.

                       allowed administrative claim, pursuant to sections 503(b)(4) and
                        543(c)(1) of the Bankruptcy Code, in the amount of $20,929.68,
                        representing reimbursements for Ashby & Geddes’ prepetition expenses
                        incurred from August 25, 2022, through the Petition Date.

                       allowed administrative claim, pursuant to sections 503(b)(4) and
                        543(c)(1) of the Bankruptcy Code, in the amount of $50,267.62,
                        representing compensation for Ashby & Geddes’ postpetition services
                        rendered.

                       allowed administrative claim, pursuant to sections 503(b)(4) and
                        543(c)(1) of the Bankruptcy Code, in the amount of $725.09,
                        representing reimbursements for Ashby & Geddes’ postpetition
                        expenses incurred.


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              b. Payment of Receiver Administrative Claim. The Trustee shall remit and make a
                 partial payment of $119,240.71 on account of the allowed Receiver Administrative
                 Claim within ten (10) business days after occurrence of the Effective Date;
                 provided, however, that such partial payment shall be inclusive of the Retainer,
                 which shall be released from the Ashby Geddes client trust account and applied to
                 the allowed Receiver Administrative Claim upon occurrence of the Effective Date.
                 For the avoidance of doubt, the Trustee shall only be responsible for remitting and
                 paying $44,240.71 on account of the partial payment ($119,240.71) to be made as
                 set forth herein, with the remainder of that partial payment to be funded by
                 application of the Retainer. The remaining unpaid balance of the allowed Receiver
                 Administrative Claim (i.e., $50,000) will be paid, in the exercise of the Trustee’s
                 sole and reasonable determination, upon there being sufficient liquidity in the
                 Estate to allow for (i) full payment of all other asserted administrative expense
                 claims under section 507(a)(2) of the Bankruptcy Code, and (ii) a pro rata
                 distribution of at least $100,000 to the holders of allowed nonpriority general
                 unsecured claims.

              c. Payment of Ashby Administrative Claim. The Trustee shall remit and make a
                 partial payment of $380,759.29 on account of the allowed Ashby Administrative
                 Claim within ten (10) business days after occurrence of the Effective Date. The
                 remaining unpaid balance of the allowed Ashby Administrative Claim (i.e.,
                 $50,000) will be paid, in the exercise of the Trustee’s sole and reasonable
                 determination, upon there being sufficient liquidity in the Estate to allow for (i) full
                 payment of all other asserted administrative expense claims under section 507(a)(2)
                 of the Bankruptcy Code, and (ii) a pro rata distribution of at least $100,000 to the
                 holders of allowed nonpriority general unsecured claims.

              d. Mutual Releases.

                   (i)   Release of Receivership Creditors. Upon the Effective Date, each of the
                         Trustee, the Debtor, and the Estate, releases and discharges the
                         Receivership Creditors (including its members, partners, shareholders,
                         agents, assigns, affiliates and employees), and its attorneys, accountants,
                         consultants, advisors, employees, agents, and representatives (collectively
                         the “Receivership Creditors Released Parties”), of and from any and all
                         actions, suits, debts, liabilities, obligations, dues, sums of money, accounts,
                         controversies, agreements, promises, damages, fees (including but not
                         limited to attorneys’ fees), costs, expenses, interest, claims and demands,
                         whether presently existing, or arising in the future, whether known or
                         unknown, suspended or unsuspended, apparent or unapparent, direct or
                         indirect, ascertained or not ascertained, liquidated or unliquidated,
                         contingent or not, matured or unmatured, whether arising in law, equity, or
                         otherwise, which the Trustee, the Debtor, or the Estate, have, had or may
                         have against the Receivership Creditors Released Parties related to or
                         arising from the Chancery Court receivership proceedings, the Bankruptcy


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                       Case, the Receiver Administrative Claim, or the Ashby Administrative
                       Claim, whether arising under contract, tort, statute, common law or
                       otherwise; provided, however, that the Receivership Creditors Released
                       Parties shall not be released from their obligations under the Agreement.

                (ii)   Release of the Estate. Upon occurrence of the Effective Date and timely
                       receipt of the initial partial payments set forth above, each of the
                       Receivership Creditors releases and discharges the Trustee, the Debtor, and
                       the Estate, and each of the attorneys, accountants, consultants, advisors, and
                       representatives of the Estate and the Trustee (the “Estate Released Parties”)
                       of and from any and all actions, suits, debts, liabilities, obligations, dues,
                       sums of money, accounts, controversies, agreements, promises, damages,
                       fees (including but not limited to attorneys’ fees), costs, expenses, interest,
                       claims and demands, including those claims that were made or could have
                       been made in the Bankruptcy Cases or otherwise, whether presently
                       existing, or arising in the future, whether known or unknown, suspended or
                       unsuspended, apparent or unapparent, direct or indirect, ascertained or not
                       ascertained, liquidated or unliquidated, contingent or not, matured or
                       unmatured, whether arising in law, equity, or otherwise, which the
                       Receivership Creditors have, had or may have against the Estate Released
                       Parties related to or arising from the Chancery Court receivership
                       proceedings, the Bankruptcy Case, the Receiver Administrative Claim, or
                       the Ashby Administrative Claim, whether arising under contract, tort,
                       statute, common law or otherwise; provided, however, that the Estate
                       Released Parties shall not be released from their obligations under the
                       Agreement and for the avoidance of doubt, there shall be no waiver or
                       release by the Receivership Creditors of any rights, claims, or protections
                       afforded each of them under paragraph 9 of the Receivership Order.

                (iii) Release of each of AC Group Holdings LLC, Chaluts Trust, JG Group
                      Holdings LLC, JGFT LLC, and PGFT LLC. Upon occurrence of the
                      Effective Date, and in consideration of the AJ Group Released Parties’
                      consent and agreement to application of the Retainer in partial payment and
                      satisfaction of the allowed Receiver Administrative Claim, each of the
                      Receivership Creditors releases and discharges AC Group Holdings LLC,
                      Chaluts Trust, JG Group Holdings LLC, JGFT LLC, and PGFT LLC
                      (including their members, partners, shareholders, agents, assigns, affiliates
                      and employees), and their attorneys, accountants, consultants, advisors,
                      employees, agents, and representatives (collectively the “AJ Group
                      Released Parties”) from any and all actions, suits, debts, liabilities,
                      obligations, dues, sums of money, accounts, controversies, agreements,
                      promises, damages, fees (including but not limited to attorneys’ fees), costs,
                      expenses, interest, claims and demands, whether presently existing, or
                      arising in the future, whether known or unknown, suspended or
                      unsuspended, apparent or unapparent, direct or indirect, ascertained or not
                      ascertained, liquidated or unliquidated, contingent or not, matured or


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                          unmatured, whether arising in law, equity, or otherwise, which the
                          Receivership Creditors have, had or may have against the AJ Group
                          Released Parties related to or arising from the Chancery Court receivership
                          proceedings, the Bankruptcy Case, the Retainer, the Receiver
                          Administrative Claim, or the Ashby Administrative Claim, whether arising
                          under contract, tort, statute, common law or otherwise.

                                       RELIEF REQUESTED

        17.        By and through this Motion, the Trustee seeks entry of an Order authorizing and

approving the Agreement pursuant to Bankruptcy Rule 9019.

                                BASIS FOR RELIEF REQUESTED

        18.        Bankruptcy Rule 9019 provides that “[o]n motion by the [T]rustee and after

notice and a hearing, the court may approve a compromise or settlement. Notice shall be given to

creditors, the United States trustee, the debtor. . . and to any other entity as the court may direct.”

Fed. R. Bankr. P. 9019(a); see also Myers v. Martin (In re Martin), 91 F.3d 389, 393 (3d Cir. 1996).

        19.        The Trustee is obligated to maximize the value of the estate and make her

decisions in the best interests of all creditors. See Martin, 91 F.3d at 394. Indeed, courts generally

defer to a trustee’s business judgment when there is a legitimate business justification for a

trustee’s decision. See Martin, 91 F.3d at 395.

        20.        In determining whether a settlement should be approved under Bankruptcy Rule

9019, the Court must “assess and balance the value of the claim that is being compromised against

the value to the estate of the acceptance of the compromise proposal.” Id. at 393. To this end,

courts should consider four factors: “(1) the probability of success in litigation; (2) the likely

difficulties in collection; (3) the complexity of the litigation involved, and the expense,

inconvenience and delay necessarily attending it; and (4) the paramount interest of the creditors.”

Id. (citation omitted).




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        21.       This Court should approve the Agreement because it is supported by sound

business justifications and applicable law, the terms of the Agreement are more than reasonable,

and the four (4) Martin factors weigh in favor of approval.

        22.       First, the Agreement reflects a balance between the Bankruptcy Code’s

allowance of administrative expense claims on account of services performed by a prepetition

custodian and its professionals, and the benefits provided by the Receiver and Ashby & Geddes.

See 11 U.S.C. §§105, 503(b)(3)(E), 503(b)(4), 543(c)(1), 543(c)(2).5

        23.       The Receivership Creditors initially asserted claims totaling $738,714.16. At

the request of the Trustee, the Receiver and Ashby & Geddes both provided invoices detailing the

services performed and the time spent on such services. The Trustee then performed research on

the allowability of such claims and to what extent such claims should be allowed. After several

rounds of negotiations, the Parties agreed to total aggregate claims of $600,000, a reduction of

nearly 20% of the combined claims asserted by the Receiver and Ashby & Geddes. The Trustee

believes that prevailing on any potential challenges to the claims beyond the proposed agreed

reductions as reflected in the Agreement would prove difficult. Thus, the Agreement reaches the

appropriate amounts for such claims. It also should be emphasized the Agreement provides that

before the Receiver and Ashby & Geddes receive full payment on their allowed claims under the

terms of the Agreement (each essentially has agreed to a $50,000 payment holdback), the Trustee

will need to determine that sufficient liquidity exists in the estate to allow for (i) full payment of



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  See also In the Matter of Bodenheimer, Jones, Szwak, & Winchell L.L.P., 592 F.3d 664, 671 (5th Cir.
2009) (reviewing bankruptcy court’s allowance of fees and expenses for prepetition custodian and his
counsel) (citations omitted); In re Lake Region Operating Corp., 238 B.R. 99, 101 (Bankr. M.D. Pa. 1999)
(upon bankruptcy court review and approval, estate funds will be made available to pay compensation and
expenses incurred by prepetition receiver); In re Snergy Properties, Inc., 130 B.R. 700, 704-05 (Bankr.
S.D. N.Y. 1991) (bankruptcy court reviewed and approved fees and expenses requested by prepetition
receiver, including his legal expenses).

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all other asserted administrative expense claims under section 507(a)(2) of the Bankruptcy Code,

and (ii) a pro rata distribution of at least $100,000 to the holders of allowed nonpriority general

unsecured claims.

        24.       Second, the nature of the dispute would not result in any collection of a judgment

against the Receiver or Ashby & Geddes, even if the Trustee did prevail. Rather, the dispute

involves claims against the Debtor’s estate. This factor is therefore inapplicable.

        25.       Third, objecting to and defending against the Receiver and Ashby & Geddes’s

claims to conclusion would require, among other things, discovery, testimony, and briefing. In

light of these significant costs and risks associated with litigation, as well as the voluntary

reduction of the claims as reflected in the terms of the Agreement, the Trustee submits, in the

exercise of his business judgment, that the Agreement proposed herein is reasonable and will

maximize the benefit to the estate with the least cost.

        26.       In other words, the Agreement represents the most realistic and cost-efficient

way of resolving the claims in a manner that maximizes the recovery for the Debtor’s creditors.

The paramount interests of the creditors therefore favors approval of the Agreement.

                                             NOTICE

        Notice of this Motion will be provided to: (a) the Office of the United States Trustee for

the District of Delaware; (b) counsel for the Debtor; (c) counsel for the Receiver; (d) Ashby &

Geddes; (d) all parties who have filed timely proofs of claim; and (e) all parties requesting notice

in this proceeding pursuant to Bankruptcy Rule 2002. The Trustee submits that such notice is

sufficient, and that no other or further notice is necessary or required. The Trustee requests that

the Court find that such notice is adequate and proper.




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                                         CONCLUSION

        WHEREFORE, the Trustee respectfully requests that this Court enter an Order authorizing

and approving the Agreement pursuant to Bankruptcy Rule 9019 and granting such other and

further relief as the Court deems appropriate.



                                             Respectfully submitted,

                                             FOX ROTHSCHILD LLP

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Dated: July 19, 2023                         Counsel for Alfred T. Giuliano,
                                             Chapter 7 Trustee for the estate of Project Verte
                                             Inc.




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